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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


  HBAC MATCHMAKER MEDIA,INC.,

                            Plaintiff,

               v.                            C.A. No. 13-433-SLR

  DISNEY ONLINE;ESPN,INC.;AND
  AMERICAN BROADCASTING
  COMPANIES,INC.,

                            Defendants.


                                 NOTICE OF SERVICE

        PLEASE TAKE NOTICE that, on July 28, 2014, copies of: (1) HBAC

  MATCHMAKER          MEDIA,      INC.’S    DISCLOSURES        OF     INFRINGEMENT

  CONTENTIONS PURSUANT TO SECTION 4(c) OF THE DELAWARE DEFAULT

  STANDARD FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION

  and (2)this NOTICE OF SERVICE were served upon the following counsel as shown:

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  July 28,2014                           BAYARD,P.A.

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